     Case 1:02-cr-00022-PB   Document 232   Filed 07/01/08    Page 1 of 2




               UNITED STATES DISTRICT COURT FOR THE
                     DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                Criminal No. 02-22-JD

Nathaniel Ceasar


                                O R D E R


     The defendant has filed an assented to motion to continue

the revocation hearing in order to permit him to enter the

Therapeutic Community Program, a ninety-day intensive substance

abuse treatment program that is offered at the Strafford County

House of Correction.    The defendant would enter the program, if

accepted, in approximately two weeks.

     At the hearing today, the court informed the defendant of

his right pursuant to Fed. R. Crim. P. 32.1(b)(2) to a hearing on
the pending petition within a reasonable time.          Based on the

defendant's responses to the court's questions, the court finds
that the defendant has knowingly and voluntarily given up his

right to have the hearing held within a reasonable time in order
to permit him to enter and complete the program.             Therefore, the

court grants the defendant's motion.
      Case 1:02-cr-00022-PB   Document 232   Filed 07/01/08   Page 2 of 2




      The court recommends to the Strafford County House of

Correction that the defendant be permitted to participate in the

Therapeutic Community Program.       The court shall be informed

promptly if the defendant is not admitted to the program.

      If admitted to the program, the defendant shall comply with

all the rules and regulations of the program and in the event

that he fails to do so and is dismissed from the program the

court shall be promptly notified.

      If the defendant completes the program, the court shall be

promptly notified and a hearing on the pending petition will be

scheduled.   The court reserves to the defendant the right at any

time to request a hearing on the pending petition.

      SO ORDERED.



                                         ____________________________
                                         Joseph A. DiClerico, Jr.
                                         United States District Judge

July 1, 2008

cc:   Andrew M. Gallagher, Esquire
      Bjorn R. Lange, Esquire
      Aixa Maldonado-Quinones, Esquire
      Terry L. Ollila, Esquire
      Lawrence A. Vogelman, Esquire




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